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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

BRANDON DANNER                                                                    PLAINTIFF

v.                              Case No. 3:22-cv-00239-LPR

BURNS, Nurse, TurnKey Health Services
(Greene County Detention Center), et al.                                       DEFENDANTS


                                        JUDGMENT

       Consistent with the Order that was entered today and prior Orders in this case, it is

CONSIDERED, ORDERED, and ADJUDGED that Plaintiff Brandon Danner’s Complaint is

DISMISSED without prejudice. Pursuant to 28 U.S.C. § 1915(a)(3), the Court certifies that an in

forma pauperis appeal of this Judgment or the underlying Order would not be taken in good faith.

       IT IS SO ADJUDGED this 24th day of October 2023.



                                                   ________________________________
                                                   LEE P. RUDOFSKY
                                                   UNITED STATES DISTRICT JUDGE
